                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


JEFFREY JOHNIKIN,

              Plaintiff,                        Case No.: __________________

      v.
                                                Jury Trial Demanded
C&D TECHNOLOGIES, INC. and UNITED
STEELWORKERS UNION LOCAL 322,

             Defendants.


                              COMPLAINT
_______________________________________________________________________

      NOW COMES Plaintiff Jeffrey Johnikin, by his attorneys, Cade Law Group LLC, as

and for his complaint against Defendants, complains and alleges as follows:

      1.     Plaintiff Jeffrey Johnikin (“JOHNIKIN” or “PLAINTIFF”) is an individual

residing in the City of Milwaukee, Milwaukee County, and is a citizen and resident of

Milwaukee County, Wisconsin.

      2.     Upon information and belief, Defendant C&D Technologies, Inc. (“C&D”) is

a foreign corporation organized under the laws of the State of Pennsylvania with its

principal place of business at 1400 Union Meeting Road, Blue Bell, Pennsylvania 19422

and is licensed to do business in the State of Wisconsin. The registered agent for C&D is

CT Corporation System, 301 S. Bedford Street, Suite 1, Madison, WI 53703.

      3.     Upon information and belief, Defendant United Steelworkers Union Local 2-

322 (“UNION”) is an organization organized under the laws of the State of Wisconsin with

its principal place of business at 900 E. Keefe Avenue, Milwaukee, WI 53212.

      4.      Upon information and belief, UNION is a labor organization as the term is

defined by the NLRA, 29 USC §152(5), and plaintiff’s exclusive bargaining representative


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under the NLRA, 29 USC § 159(a).

      5.       Plaintiff was an employee of Defendant C&D and was a dues-paying

member of UNION at all material times alleged in this complaint.

      6.       Plaintiff brings this action against C&D and UNION for violating the

Americans with Disabilities Act, as amended by the Americans with Disabilities Act

Amendments Act of 2008, 42 U.S.C. § 12101, et seq. (hereinafter, “ADA”).

      7.       Plaintiff brings this action against C&D and UNION for breaches of

collectively bargained agreements pursuant to the Labor Management Relations Act, 29

USC §185 (“LMRA”).

      8.       Plaintiff brings this hybrid § 301 claim under the LMRA against C&D and

UNION.

                                    JURISDICTION

         9.    This action arises from PLAINTIFF’S employment with C&D, and

 membership with the UNION.

         10.   This Court has personal jurisdiction over defendants because the claims

 arise from the transaction of business, the negotiation of collectively bargained

 agreements, and other conduct between the parties, all of which occurred in this State.

         11.   This Court has subject matter jurisdiction pursuant to: 28 USC § 1331

 because the claims arise under the laws of the United States; 28 USC § 1337(a)

 because the claims arise under an Act of Congress regulating commerce; and 29 USC §

 185 because the claims concern the violation of contracts and/or contract negotiations

 between an employer and labor organization.

         12.   To the extent the claims allege violations of state law, this Court has

 supplemental jurisdiction over state law claims pursuant to 28 USC § 1367, because


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 those claims are so related to the claims arising under federal law that they form part of

 the same case or controversy.

                                           VENUE

        13.   Venue is proper pursuant to 28 USC § 1391 because both C&D and the

 UNION have principal places of business in this judicial district and all of the events,

 omissions, or occurrences giving rise to the lawsuit took place in this district.

                                        FACTS
       14.    Negotiations of the most recent master collective bargaining agreement

between C&D and the UNION culminated in a labor contract (“LABOR CONTRACT”) that

was in effect between October 17, 2014 to October 20, 2017. A true and correct copy of

the LABOR CONTRACT is attached hereto as Exhibit 1.

       15.     The UNION’s membership, of which JOHNIKIN is a member, pays periodic

dues, the substantial majority of which are designated to be used in the bargaining

process and for implementation and representation of UNION members with respect to

the LABOR CONTRACT.

       16.     PLAINTIFF began his employment with C&D on or about March 6, 2015.

       17.     As a result of beginning his employment with C&D, PLAINTIFF became a

member of the UNION.

       18.     PLAINTIFF requested a reasonable medical accommodation or about

September 21, 2015, which was granted until November 30, 2015.

       19.     However, PLAINTIFF was discharged from C&D on or about November

20, 2015 as a result of the LABOR CONTRACT and UNION’S failure to protect

PLAINTIFF.

       20.     More specifically, PLAINTIFF received a letter (the “Termination Letter”)

from C&D, dated November 19, 2015, from Paul Kortman, Manager of C&D’s Human

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Resources. A true and correct copy of the Termination Letter is attached hereto as

Exhibit 2.

      21.      In the Termination Letter, Paul Kortman indicates that PLAINTIFF’S

employment was terminated effective November 20, 2015 pursuant to Article 4.11(h) of

the LABOR CONTRACT: “Your last day worked was September 20, 2015. The period

that you have been on medical leave is a continuous period greater than one-fourth (1/4)

of the length of your seniority. Therefore in accordance with the Collective Bargaining Unit

Agreement with the USW Local 322, we must notify you that your employment is being

terminated effective November 20, 2015.”

      22.      However, Article 11 permits an eligible employee to take up to thirty weeks

of leave for Long Term Disability.

      23.      PLAINTIFF was approved for Long Term Disability.

      24.      After PLAINTIFF was terminated, he complained to the UNION.

      25.      Despite being the sole bargaining unit responsible for its members, the

UNION failed to take any action to protect PLAINTIFF pursuant to the LABOR

CONTRACT.

      26.      PLAINTIFF filed a timely charge of discrimination against C&D with the

EEOC, and was assigned charge number 443-2016-00305.

      27.      PLAINTIFF filed a timely charge of discrimination against the UNION with

the EEOC, and was assigned charge number 443-2016-01043.

      28.      The EEOC issued a determination on April 11, 2017 that C&D violated the

Americans With Disabilities Act of 1990 when C&D “. . . entered into a contractual

agreement with the United Steelworkers Local 322 which had the effect of subjecting

Charing Party and a class of employees with disabilities to unlawful discrimination by



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limiting the amount of leave available to these employees and discharging them rather

than allowing additional leave as a reasonable accommodation.” A true and correct copy

of the EEOC’s determination as to C&D is attached hereto and incorporated herein as

Exhibit 3.

      29.        The EEOC issued a determination on April 11, 2017 that UNION violated

the Americans With Disabilities Act of 1990 when UNION “. . . failed to represent

Charging Party and a class of employees with disabilities: Respondent [UNION] entered

into a contractual agreement with C&D Technologies which had the effect of subjecting

the employees to unlawful discrimination by limiting the amount of leave available to them

which contractually allowed C&D Technologies to discharge them rather than allowing

additional leave as a reasonable accommodation.” A true and correct copy of the EEOC’s

determination as to UNION is attached hereto and incorporated herein as Exhibit 4.

      30.        The EEOC and UNION entered into a Conciliation Agreement on or about

April 5, 2018 in which UNION acknowledged that the LABOR CONTRACT violated the

Americans with Disabilities Act and that UNION failed to represent a class of employees,

which included PLAINTIFF. A true and correct copy of the Conciliation Agreement is

attached hereto and incorporated herein as Exhibit 5.

      31.        The EEOC issued PLAINTIFF a right to sue letter against the UNION

dated April 5, 2018. A true and correct copy of the right to sue letter against the UNION is

attached hereto as Exhibit 6.

      32.        The EEOC issued PLAINTIFF a right to sue letter against C&D dated May

1, 2018. A true and correct copy of the right to sue letter against C&D is attached hereto

as Exhibit 7.




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                              COUNT I
     BREACH OF THE AMERICANS WITH DISABILITIES ACT OF 1990 BY C&D

      33.      PLAINTIFF is a qualified individual with a disability, as that term is defined

by the ADA.

      34.      C&D intentionally discriminated against PLAINTIFF on the basis of his

disability, of which C&D was aware, by failing to reasonably accommodate hid disability in

reckless disregard for his federally-protected rights under the ADA.

      35.      C&D intentionally discriminated against PLAINTIFF on the basis of his

disability by terminating PLAINTIFF’S employment in reckless disregard for his federally-

protected rights under the ADA.

      36.      As a result of C&D’s intentional discrimination, PLAINTIFF has suffered

damages in the form of lost wages and benefits, humiliation, embarrassment,

degradation, emotional distress, pain and suffering, and attorneys’ fees and costs.

                                    COUNT II
                    VIOLATION OF THE LABOR CONTRACT by C&D

      37.      PLAINTIFF incorporates the preceding paragraphs by reference.

      38.      C&D was required, pursuant to the LABOR CONTRACT, to follow all state

and federal laws.

      39.      PLAINTIFF, as an employee, had an interest in C&D following and

applying the terms and conditions of the LABOR CONTRACT.

      40.      C&D breached the LABOR CONTRACT by terminating PLAINTIFF’S

employment, in violation of the ADA.

      41.      C&D’s breach of the LABOR CONTRACT is in violation in violation of 29

USC § 185.

      42.      As a result of C&D’s breach of the LABOR CONTRACT, PLAINTIFF is



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harmed in an amount to be determined at trial.

                                       COUNT III
     BREACH OF THE DUTY OF FAIR REPRESENTATION UNDER THE LABOR
                 MANAGEMENT RELATIONS ACT OF 1947

      43.      PLAINTIFF incorporates the preceding paragraphs by reference.

      44.      The UNION owed PLAINTIFF an obligation to bargain with C&D in good

faith, and owed PLAINTIFF a duty to fairly and adequately represent him. 29 USC §

159(a).

      45.      The UNION gave authority to its designated agent to fairly represent its

members who were employees of C&D.

      46.      The UNION had an obligation to serve the interests of all members without

favoritism to the company, and/or without favoritism or hostility to any members, to

exercise its representational discretion with complete good faith and honesty, and to

avoid arbitrary conduct.

      47.      The UNION breached its duty to its membership, by acting with favoritism

and hostility to certain members at the expense of other members of the UNION.

      48.      The UNION’s representation of its membership was arbitrary, perfunctory,

or inexcusably neglectful.

      49.      UNION, in entering into the Conciliation Agreement, admitted that it

breached the duties owed to PLAINTIFF and other C&D employees.

      50.      UNION breached the duties owed to PLAINTIFF.

      51.      The UNION’S breach of the LABOR CONTRACT is in violation in violation

of 29 USC § 185.

      52.      By its involvement with C&D in violation of the Americans With Disabilities

Act of 1990, the UNION, through its designated agents, lacked a rational basis for


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decision-making within the bargaining process, and engaged in egregious unfairness or

reckless disregard for its members’ rights, including PLAINTIFF.

       53.     As a result of the UNION’s breach of its duty of fair representation,

PLAINTIFF was harmed in an amount to be determined at trial.

                             COUNT IV
    BREACH OF THE AMERICANS WITH DISABILITIES ACT OF 1990 BY UNION

       54.     UNION intentionally discriminated against PLAINTIFF on the basis of his

disability, of which UNION was aware, by failing to reasonably accommodate his disability

in reckless disregard for his federally-protected rights under the ADA and by failing to

protect PLAINTIFF pursuant to the LABOR CONTRACT.

       55.     UNION intentionally discriminated against PLAINTIFF on the basis of his

disability by allowing C&D to terminate PLAINTIFF’S employment in reckless disregard

for his federally-protected rights under the ADA.

       56.     As a result of UNION’S intentional discrimination, PLAINTIFF has suffered

damages in the form of lost wages and benefits, humiliation, embarrassment,

degradation, emotional distress, pain and suffering, and attorneys’ fees and costs.

       WHEREFORE, PLAINITFF respectfully requests that a money judgment be entered

against defendants, jointly and severally, or by statutory apportionment, for an amount to

be determined by a jury to compensate him for their damages and specifically request the

following:

       A.      That this Court award damages in an amount to be determined by a jury,

including reimbursement of the value of all dues paid during the period of PLAINTIFF’S

UNION membership;

       B.      That this Court grant any injunctive relief it determines is necessary to

protect the claims of PLAINTIFF;

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      C.       That this Court award PLAINTIFF damages it or a jury determines are

reasonable and appropriate as damages, including appropriate back pay, front pay and/or

reinstatement, compensatory damages, punitive damages, pre-judgment and post-

judgment interest, reimbursement for other benefits and expenses.

      D.       That this Court award reasonable attorneys’ fees, costs and expenses, and

expert witness fees; and

      E.       That this Court award whatever additional relief that may be available in law

and equity.

                               DEMAND FOR JURY TRIAL

      Plaintiff respectfully demands a trial by jury as to all issues.

      Dated this 24th day of June, 2018.

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